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                  EXHIBIT I
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                                               +-➔    ~ Where to7                               CJ Sat, Oct 12 - Sat, Oct .. A 1 adult

      san francisco


      ~ SFO San Francisco International Airport I_
        San Francisco, California, Un,ted States

      ~ OAK San Francisco Bay Oakland                17
          International Airport
          Oakland, California, United States

      ~ SJC Norman Y. Mineta San Jose                I_
        International Airport
        San Jose. California. United States

      ~ CCR Buchanan Field Airport
                                                     Ll
        Concord, California, United States

      ~ STS Charles M. Schulz Sonoma County

                                                                                           Chicago to Guadalaj ara                     Chicago to Punta Cana
Sep 17 - Sep 24 Round-tnp                      Sep 17 - Sep 24 Round•tnp                   Sep 16 - Sep 23 Round-tnp                   Sep 14 • Sep 21 Round•tnp




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America                                        Flights from Chicago O'Hare International   Flights from Chicago O'Hare International   America
Flights from Chicago O'Hare International      Airport                                     Airport                                     Flights from ChJCago O'Hare International
Airport                                        Sep 14 Sep 21 , Round-trip                  Sep 17 Sep 24 Round trip                    Airport
Sep 17 - Sep 24 Round-tnp                                                                                                              Sep 15 - Sep 22 - Round-trip




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         Q. san francisco

      All Locations

      Oakland/San Francisco Bay. CA (OAK)
      United States of Amened
                                                                         Depart date   Return date        1 Traveler                   V




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      San Francisco, CA (SFO)
      'J1 1tPd Staie-;: or Am.,,,,1, a




       Featured Destinations                        Featured Vacations
                          Case 3:24-cv-02311-TSH                                   Document 37-9                           Filed 09/17/24                     Page 4 of 5
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                      µ Round trip •           ,& 1 -        Economy •


                       O     san francisco, California                                     +                                  I!:!! Departure                   Return


                       (t)   San Francisco, California                                     A


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                 Fi
                             San Francisco Bay Oakland International Airport OAK
                             lntemat1onal ,rnport m Alameda County, Cal1forma

                             San Francesco d'Assisi Airport PEG
                             lntemat1onal import'" Usry

                       (t)   San Francisco Mountain. Arizona                               V
                             Mountain range in Arizona
                             Don Edwards San Francisco Bay National
                       (t)   Wildlife Refuge, California                                   V
                             Wildlife refuge in California

                                                                                           Explore destinations




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                Oct 5 - Oct 12                               Nov 15 - Nov21                                 Nov 3 - Nov 12                             Oct 27- Nov 5
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                   2024                                    Departing: October 22
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